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                                     UNITED STATES DISTRICT COURT
                                          Western District of Texas                                          0C1 1
                                                     SAN ANTONIO DIVISION                                             srRC
UNITED STATES OF AMERICA                                                                             'N ES

       V.                                                              Case Number       SA-I 1-CR-I 66(1 )FB
                                                                       USM Number        65183-080
SAM HUERTA, TRUE NAME: SAMUEL HUERTA,
Aliases: Samuel Aguero; Samuel Aguero Huerta; Sammuel Huerta; 'Boss Man",

      Defendant.
                                           JUDGMENT IN A CRIMINAL CASE
                                   (For Offenses Committed On or After November 1, 1987)



      The defendant, SAM HUERTA, TRUE NAME: SAMUEL HUERTA, Aliases: Samuel Aguero; Samuel Aguero Huerta;
Sammuel Huerta; "Boss Man', was represented by Mr. Alan Brown, Esquire.

          The defendant pled guilty to Count One of the Indictment on June 24, 2011. Accordingly, the defendant is adjudged
guilty of such Count, involving the following offense:


Title & Section           Nature of Offense                                     Offense Ended                     Count (s)
21 USC 846                Attempt to Possess With Intent to Distribute          February 14, 2011                 One
                          Heroin




       As pronounced on October 7, 2011, the defendant is sentenced as provided in pages 2 through 7 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of any
material change in the defendant's economic circumstances.

        Signed this the    /7day of October, 2011.



                                                                        F   DBIERY
                                                               /...V7EF UNITED                                  JUDGE
                        Case 5:11-cr-00166-FB Document 35 Filed 10/17/11 Page 2 of 7
A0 2458   (Rev. 06/05)(W.D.TX.)   -   Imprisonment



                                                                                                                  Judgment--Page 2
Defendant: SAM HUERTA, TRUE NAME: SAMUEL HUERTA, Aliases: Samuel Aguero; (see page 1)
Case Number: SA-11-CR-166(1)FB

                                                          IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
60 months, with credit for time served while in custody for this federal offense.


          The Court makes the following recommendations to the Bureau of Prisons:

          (a)       That the defendant be incarcerated in a federal facility to accommodate the defendant's medical needs.

          (b)       That the defendant serve this sentence at FMC Rochester, New York.


          If the Bureau of Prisons does not comply with this recommendation, it shall promptly notify the Court in writing of its
          reasons therefor.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons at or before
2:00 PM when notified to report by the United States Pretrial Services Officer.

          Defendant shall not be required to report to the Bureau of Prisons prior to January 9, 2012.

        The Defendant shall report to the U. S. Pretrial Services Office as directed by the U. S. Pretrial Services Officer while
pending designation of the institution.




                                                              RETURN

          I   have executed this Judgment as follows:




         Defendant delivered on                        to
 at ____________________________________________________________,with a certified copy of this Judgment.


                                                                                   United States Marshal

                                                                                 By
                                                                                           Deputy Marshal
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A0 245 B   (Rev. 06/05)ON.D.TX.) - Supervised Release

                                                                                                                 Judgment--Page 3
Defendant: SAM HUERTA, TRUE NAME: SAMUEL HUERTA, Aliases: Samuel Aguero; (see page 1)
Case Number: SA-11-CR-166(1)FB

                                                        SUPERVISED RELEASE

           Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years.

         While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the special
conditions that have been adopted by this Court as set forth on pages 4 and 5 of this judgment; and shall comply with the
following additional conditions:

X          The defendant shall not associate with any member or associates of the Mexikanemi, also known as the Texas
           Mexican Mafia criminal gang or any other group, gang, or organization defined as a criminal street gang by federal or
           state law.
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AO 245 B (Rev. O5/O4)(W.D.TX. - Suoervised Release

                                                                                                                          Judgment--Page 4
Defendant: SAM HUERTA, TRUE NAME: SAMUEL HUERTA, Aliases: Samuel Aguero; (see page 1)
Case Number: SA-11-CR-166(1)FB
                                     CONDITIONS OF SUPERVISION
Mandatory Conditions:
1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.

2)    The defendant shall not unlawfully possess a controlled substance.

3)    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
      15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by the court)
      for use of a controlled substance, but the condition stated in this paragraph may be ameliorated or suspended by the court if the
      defendant's presentence report or other reliable sentencing information indicates low risk of future substance abuse by the
      defendant.

4)    In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
      released within 72 hours of release from custody of the Bureau of Prisons.

5)    If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
      weapon.

6)    The defendant shall cooperate in the collection of DNA as directed by the probation officer, if the collection of such a sample is
      authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 141 35a).

7)    If convicted of a sexual offense and required to register under the Sex Offender and Registration Act, that the defendant comply
      with the requirements of the Act.

8)    If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
      program for domestic violence.

9)    If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
      Schedule of Payments sheet of the judgment.

Standard Conditions:

1)    The defendant shall not leave the judicial district without permission of the court or probation officer.

2)    The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month, or as directed by the probation officer.
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4)    The defendant shall support his or her dependents and meet other family obligations, and shall comply with the terms of any
      court order or order of an administrative process requiring payments by the defendant for the support and maintenance of a child
      or of a child and the parent with whom the child is living.

5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons.

6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.

7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9)    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
      convicted of a felony, unless granted permission to do so by the probation officer.

10)   The defendant shall permit a probation officer to visit him or her at any time, at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view of the probation officer.
11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer.

12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court.
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AO 245 B (Rev. 05/04'I(W.D.TX.) - Suoervised Release

                                                                                                                       Judgment--Page 5
Defendant: SAM HUERTA, TRUE NAME: SAMUEL HUERTA, Aliases: Samuel Aguero; (see page 1)
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13)   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications, and to
      confirm the defendant's compliance with such notification requirement.

14)   If convicted of a sex offense as described in the Sex Offender Registration and Notification Act or has a prior conviction of a
      State or local offense that would have been an offense as described in the Sex Offender Registration and Notification Act if a
      circumstance giving rise to federal jurisdiction had existed, the defendant shall participate in a sex offender treatment program
      approved by the probation officer. The defendant shall abide by all program rules, requirements and conditions of the sex
      offender treatment program, including submission to polygraph testing, to determine if the defendant is in compliance with the
      conditions of release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based on the defendant's ability to pay.

15)   The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation officer,
      and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the probation officer
      for treatment of narcotic addiction or drug or alcohol dependency which may include testing and examination to determine if the
      defendant has reverted to the use of drugs or alcohol. During treatment, the defendant shall abstain from the use of alcohol and
      any and all intoxicants. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based upon the defendant's ability to pay.

16)   The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
      necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation officer.
      The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be determined by
      the probation officer, based upon the defendant's ability to pay.

17)   The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
      necessary by the probation officer. Such program may include group sessions led by a counselor or participation in a program
      administered by the probation office. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

18)   The defendant shall participate in workforce development programs and services as directed by the probation officer, and if
      deemed necessary by the probation officer, which include occupational/career development, including but not limited to
      assessment and testing, education, instruction, training classes, career guidance, job search and retention services until
      successfully discharged from the program. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

19)   If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision shall
      be a non-reporting term of probation or supervised release. The defendant shall not illegally re-enter the United States. If the
      defendant lawfully re-enters the United States during the term of probation or supervised release, the defendant shall
      immediately report in person to the nearest U.S. Probation Office.

20)   If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such penalties
      in accordance with the Schedule of Payments sheet of the judgment.

21)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall provide the probation officer access to any requested financial information.

22)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of the
      probation officer, unless the defendant is in compliance with the payment schedule.
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AO 245 B (Rev. 05/04)(W.D.TX.) - SuDervised Release

                                                                                                                        Judgment--Page 6
Defendant: SAM HUERTA, TRUE NAME: SAMUEL HUERTA, Aliases: Samuel Aguero; (see page 1)
Case Number: SA-11-CR-166(1)FB

The Court further adopts such of the following special conditions applied to the supervised person by the judge at the time of
sentencing:

1)   Community Confinement: The defendant shall reside in a Community Corrections Center for a period of       months to
     commence on ____________. Further, once employed, the defendant shall pay 25% of his/her weekly gross income for his/her
     subsistence as long as that amount does not exceed the daily contract rate.

     Location Monitoring Program:
2)   Radio Frequency Monitoring: The defendant shall participate in the Location Monitoring Program with Radio Frequency
     Monitoring for a period of          days/months. You shall abide by the rules and regulations of the Participant Agreement Form.
     During this time, you will remain at your place of residence except for employment and other activities approved in advance by
     your probation officer. You will maintain a telephone at your place of residence without "caller ID," "call forwarding," "call waiting,"
     "call back/call block," a modem or a portable cordless telephone for the above period as directed by the probation officer. You
     will wear an electronic monitoring device and follow location monitoring procedures specified by your probation officer. You shall
     pay all or part of the costs of the program based on the ability to pay as directed by the probation officer.

3)    Global Positioning Satellite (GPS): The defendant shall participate in the Location Monitoring Program for a term not to exceed
            days/months, which will include remote location monitoring using _Active               Passive Global Positioning Satellite
     (GPS) tracking. You shall abide by the rules and regulations of the Participant Agreement Form. During this time, you will
     remain at your place of residence except for employment and other activities approved in advance by your probation officer. You
     will maintain a telephone at your place of residence without "caller ID," "call forwarding," "call waiting," "call back/call block," a
     modem or a portable cordless telephone for the above period as directed by the probation officer. At the direction of the
     probation officer, you shall wear a transmitter and be required to carry a tracking device. You shall pay all or part of the costs of
     the program based on the ability to pay as directed by the probation officer.

4)   Community Service: The defendant shall perform            hours of community service work without pay, at a location approved by
     the probation officer, at a minimum rate of four hours per week, to be completed during the first    months of supervision.

5)   Sex Offender Search & Seizure Condition: If required to register under the Sex Offender Registration and Notification Act, the
     defendant shall submit his person, and any property, house, residence, vehicle, papers, computer, other electronic
     communication or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
     enforcement or probation officer with reasonable suspicion concerning a violation of a condition of probation or supervised
     release or unlawful conduct by the person, and by any probation officer in the lawful discharge of the officer's supervision
     functions.

6)   Standard Search & Seizure Condition: The defendant shall submit his or her person, property, house, residence, vehicle,
     papers, [computers as defined in 18 U.S.C. Section 1030(e)(1), other electronic communications or data storage devices or
     media,] or office to a search conducted by a United States probation officer. Failure to submit to a search may be grounds for
     revocation of release. The defendant shall warn any other occupants that the premises may be subject to searches pursuant to
     this condition. Any search must be conducted at a reasonable time and in a reasonable manner.
AO 245 B                      CaseCMP
           (Rev. O6IO5)yV.D.TX.)
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                                      -




                                                                                                                                                                Judgment--Page 7
Defendant: SAM HUERTA, TRUE NAME: SAMUEL HUERTA, Aliases: Samuel Aguero; (see page 1)
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                                                       CRIMINAL MONETARY PENALTIES! SCHEDULE

          The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal
Bureau of Prisons' Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 655
East Durango Boulevard, Room G-65, San Antonio, Texas 78206.
          The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
                                                Assessment                                      Fine                                           Restitution

 TOTAL:                                         $100.00                                         $0                                             $0

                                                                             Special Assessment

         It is ordered that the defendant shall pay to the United States a special assessment of $100.00.                                                  Payment of this sum
shall begin   immediately.

                                                                                          Fine

           The fine is waived because of the defendant's inability to pay.




          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 u.s.c. § 3664(i), all non-federal victims must be paid before the United States is paid.

            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of
the judgment, pursuant to 18 U.S.C. §3612(t). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
